Case 2:04-cV-02387-.]DB Document 4 Filed 05/10/05 Page 1 of 2 Page|D 10

  

Fl\.ED FB`Y' __ … D.¢'J.

UNITED STA TES DISTRICT COURT
WESTERN DISTRICT 0F TENNESSEES nw 10 PH '= 32

WESTERN DIVISION H@BF_F;T ;-'i. 13 ';‘EG§_|C

§
CLEH}<.~ i}.i§. E?S‘i`. C`i".
W.i`}. (}?i`-` Ti‘£, I\!':Ef-AFHES

JOHN C. BULLOCK, JUDGMENT IN A CIVIL cAsE
Plaintiff,

V.

SoCIAL sECURITY CASE No= 04-2387-B

ADMINISTRATION, et al.,

Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rcndcrcd.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Dismissal
entered on March 18, 2005, this cause is hereby dismissed.

ROVED:

 

`/lE. DPNIEL BREEN
ED STATES DISTRICT COURT

mg £O , 1005

Date Clerk of Court

f e. si ";f'z j

 

Sheet in commence

_U

This document entered on i'ne docket
with Huie 58 and/or 79(3) FRCP on

 

 

    
 

 
 

UNITED sATEs DTRCISI CROUT - WESERT DISTRICT oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02387 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

John Christian Bullock
2242 Hunter Ave.
Memphis7 TN 38108

Honorable J. Breen
US DISTRICT COURT

